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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 WENDELL TATSUMI KOGA,             )          CV 11-00123 DKW-BMK
 individually, as attorney in fact for
                                   )
 Ichiyo Eko Koga, and as trustee of)
 the William Tsugio Koga and Ichiyo)          ORDER ADOPTING
 Eko Koga Revocable Living Trust,  )          MAGISTRATE JUDGE’S
 dated February 4, 1991,           )          FINDINGS AND
                                   )          RECOMMENDATION
           Plaintiff,              )
                                   )
      vs.                          )
                                   )
 EASTERN SAVINGS BANK, FSB, )
                                   )
           Defendant.              )
 _____________________________ )
                                   )
 EASTERN SAVINGS BANK, FSB, )
                                   )
           Third-Party Plaintiff,  )
                                   )
      vs.                          )
                                   )
 WILLIAM J. VROOM, ALII            )
 FINANCIAL CORPORATION;            )
 PRIORITY ONE DEBT RELIEF          )
 SERVICES, LLC; JANICE M.K.        )
 GANITANO; and SONIA EVANS )
                                   )
           Third-Party Defendants. )
 _____________________________ )

                 ORDER ADOPTING MAGISTRATE JUDGE’S
                   FINDINGS AND RECOMMENDATION

       Findings and Recommendation having been filed and served on all parties

 on April 07, 2014, and no objections having been filed by any party,
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       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

 United States Code, Section 636(b)(1)(C) and Local Rule 74.2, the “Findings and

 Recommendation To Grant Defendant and Third-party Plaintiff Eastern Savings

 Bank, FSB's Motion For Entry of Default Judgment Against Third-Party

 Defendants William J. Vroom, Alii Financial Corporation, Priority One Debt

 Relief Services, LLC, and Janice M.K. Ganitano” are adopted as the opinion and

 order of this Court.

       IT IS SO ORDERED.

       DATED: Honolulu, Hawai’i on April 25, 2014.




                                          /s/ Derrick K. Watson
                                          Derrick K. Watson
                                          United States District Judge




 Wendell Koga v Eastern Savings Bank; Civil No 11-00123 DKW-BMK; ORDER
 ADOPTING MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION
